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Case 10-93904-BHL-11             Doc 1079-4    Filed 03/09/12       EOD 03/09/12 18:08:03        Pg 2 of
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Oak Lake Revenue Items Per Invoice (Claims 187, 188, and 189)

         No. Of Invoices: 115                 Reconciled       Reconciled      Reconciled
                        Invoice Nos.           Oak Lake        Eagle Bay        Dan Byrd       Total
                            291141                  $377.54          $974.00         $150.00    $1,501.54
                            291142                  $400.41          $503.00               䯈      $903.41
                            291143                    $0.01                䯈               䯈        $0.01
                  Voided    291144                        䯈                䯈               䯈        $0.00
                            291145                  $548.23        $1,626.00               䯈    $2,174.23
                            291146                  $316.33        $2,010.00         $150.00    $2,476.33
                            291147                  $575.57          $160.00         $575.58    $1,311.15
                            291148                  $101.75        $2,266.00         $200.00    $2,567.75
                            291149                  $953.36        $1,055.36         $307.00    $2,315.72
                            291150                   $31.96           $54.00               䯈       $85.96
                            291151                  $491.40        $1,312.00               䯈    $1,803.40
                            291152                  $327.55        $2,263.00         $200.00    $2,790.55
                            291153                  $321.22          $576.00         $100.00      $997.22
                            291154                  $202.86           $33.00               䯈      $235.86
                            291155                  $298.71          $173.50               䯈      $472.21
                  Voided    291156                    $0.00                䯈               䯈        $0.00
                            291157                   ($0.17)               䯈               䯈       ($0.17)
                            291158                   $15.31            $3.00          $16.00       $34.31
                            291159                   $64.05          $256.00               䯈      $320.05
                            291160                $1,004.89          $569.50               䯈    $1,574.39
                            291161                  $774.96          $794.35         $100.00    $1,669.31
                            291162                  $119.99           $14.00         $120.12      $254.11
                            291163                  $620.43          $574.50               䯈    $1,194.93
                            291164                  $360.00                䯈               䯈      $360.00
                            291165                  $712.17          $987.77         $100.00    $1,799.94
                            291166                  $824.11          $723.00         $100.00    $1,647.11
                            291167                   ($1.73)         $574.50               䯈      $572.77
                            291168                  $473.21                䯈               䯈      $473.21
                            291169                  $433.83          $363.00         $100.00      $896.83
                            291170                $1,064.70                䯈       $1,064.90    $2,129.60
                            291171                   $55.68          $133.00          $50.00      $238.68
                            291172                   ($0.03)               䯈               䯈       ($0.03)
                            291173                  $194.44          $184.00          $50.00      $428.44
                            291174                        䯈                䯈               䯈        $0.00
                            291175                  $180.02           $30.00               䯈      $210.02
                            291176                   $57.40           $30.00               䯈       $87.40
                            291177                   $67.86          $205.00               䯈      $272.86
                            291178                        䯈                䯈               䯈        $0.00
                            291179                    $2.58                䯈               䯈        $2.58
                            291180                  $154.80           $27.00               䯈      $181.80
                            291181                    $6.90                䯈               䯈        $6.90
                            291182                        䯈                䯈               䯈        $0.00
                            291183                  $173.00           $27.00               䯈      $200.00
                            291184                  $508.89          $988.72               䯈    $1,497.61
                            291185                  $210.55          $123.50         $210.56      $544.61
                            291186                  $237.90           $60.00               䯈      $297.90
                            291187                  $446.85          $355.50         $446.86    $1,249.21
                            291188                  $648.16          $253.50         $684.17    $1,585.83
                            291189                  $718.46          $307.50         $718.46    $1,744.42
                            291190                   $59.99           $63.00               䯈      $122.99
                            291191                  $129.00           $27.00               䯈      $156.00
                            291192                        䯈                䯈               䯈        $0.00
                            291193                  $127.36           $21.00               䯈      $148.36
                            291194                  $723.80          $292.50         $723.80    $1,740.10
                            291195                  $390.71          $452.48         $390.72    $1,233.91
                            291196                  $181.18           $90.00         $181.19      $452.37
                            291197                        䯈                䯈               䯈        $0.00
                            291198                   $37.49            $6.00               䯈       $43.49
                            291199                  $465.69          $390.00         $465.70    $1,321.39
                            291200                  $463.93           $78.00               䯈      $541.93
                            291201                  $424.28          $334.50         $424.48    $1,183.26
                            291202                  $959.44          $390.00         $959.44    $2,308.88




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Oak Lake Revenue Items Per Invoice (Claims 187, 188, and 189)

         No. Of Invoices: 115                 Reconciled     Reconciled      Reconciled
                        Invoice Nos.           Oak Lake      Eagle Bay        Dan Byrd        Total
                            291203                 $140.64         $144.00        $140.65        $425.29
                            291204                 $344.89         $360.00        $344.90      $1,049.79
                            291205                  $16.86          $36.00              䯈         $52.86
                            291206                  $18.97           $3.00              䯈         $21.97
                            291207                 $391.63          $78.00              䯈        $469.63
                            291208                 $530.82         $441.00              䯈        $971.82
                            291209                  $35.33          $25.00        $100.00        $160.33
                            291210                 $847.51         $362.00              䯈      $1,209.51
                  Voided    291211                       䯈               䯈              䯈          $0.00
                            291212                 $208.66               䯈              䯈        $208.66
            Only Eastern    291213                       䯈               䯈              䯈          $0.00
                See Inv.    291214                 $980.78               䯈              䯈        $980.78
                            291215                 $492.67               䯈              䯈        $492.67
                            291216                  $78.47               䯈              䯈         $78.47
                            291217                   $0.28               䯈              䯈          $0.28
                            291218                 $439.51         $249.00              䯈        $688.51
                            291219                 $160.41         $255.00              䯈        $415.41
       No OLC Worksheet     291220                 $645.49         $705.50              䯈      $1,350.99
                            291221                 $352.72         $109.00              䯈        $461.72
                            291222                 $362.75         $589.00              䯈        $951.75
                            291223                 $134.00               䯈              䯈        $134.00
                            291224                 $119.86               䯈              䯈        $119.86
                            291225                 $351.66         $175.00              䯈        $526.66
                            291226                 $282.33         $258.00              䯈        $540.33
                            291227                 $795.75         $450.00              䯈      $1,245.75
                            291228                 $229.52               䯈              䯈        $229.52
                            291229                  $70.58               䯈              䯈         $70.58
                            291230                 $481.46               䯈        $481.47        $962.93
                            291231                 $207.85         $100.00              䯈        $307.85
                            291232                 $368.08         $299.00              䯈        $667.08
                            291233                  $22.20               䯈              䯈         $22.20
                            291234                 $413.17               䯈              䯈        $413.17
                            291235                 $255.75               䯈              䯈        $255.75
                            291236                 $400.86               䯈        $400.87        $801.73
                            291237                 $304.58               䯈              䯈        $304.58
                            291238                  $30.73               䯈              䯈         $30.73
                            291239                  $35.65               䯈              䯈         $35.65
                            291240                  $76.91               䯈              䯈         $76.91
                            291241                  $10.58               䯈              䯈         $10.58
                            291242                  $90.99               䯈              䯈         $90.99
                            291243                  $60.34               䯈              䯈         $60.34
                            291244                 $309.76               䯈              䯈        $309.76
                            291245                  $16.22               䯈              䯈         $16.22
      No OLC Worksheet      291246                 $224.43               䯈              䯈        $224.43
    matched to worksheet    291247                 $189.50               䯈              䯈        $189.50
    matched to worksheet    291248                 $739.22       $1,991.40              䯈      $2,730.62
                            291249                 $321.76               䯈              䯈        $321.76
                            291250                 $599.79               䯈              䯈        $599.79
       No OLC Worksheet     291251                 $374.19               䯈              䯈        $374.19
                            291252                 $252.05          $81.00        $252.40        $585.45
       No OLC Worksheet     291253                 $379.19               䯈              䯈        $379.19
                            291254               $1,182.63         $274.00              䯈      $1,456.63
                            291255                 $400.52               䯈              䯈        $400.52
          Totals Invoices 291141-291255       $34,819.48     $29,719.58      $10,309.27     $74,848.33




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Oak Lake Revenue Items Per Invoice (Claims 187, 188, and 189)

         No. Of Invoices: 115                Reconciled        Reconciled       Reconciled
                        Invoice Nos.          Oak Lake         Eagle Bay         Dan Byrd           Total

Invoices 291141 to 291255
Total Revised Claims 187, 188, 189           $34,819.48        $29,719.58       $10,309.27       $74,848.33

1. Transaction Invoice Claim Adjustments

            Collections From Eastern            ($4,599.42)      ($26,508.92)     ($10,309.27)      ($41,417.61)
       Diff. Due Oak Lake/(Eastern)             $30,220.06         $3,210.66            $0.00        $33,430.72
     Ck.No.122470 Return To Maker                                  $1,057.90                          $1,057.90
         Total Due From Eastern                $30,220.06        $4,268.56             $0.00       $34,488.62



2. Livestock Inventory Sold Adjustments
                           No. Head    Wt.
      Cattle #11 - No. Hd.      161  29490      ($34,633.10)                                        ($34,633.10)
     Cattle #11X - No. Hd.      209  38569      ($40,991.42)                                        ($40,991.42)
     Cattle #91X - No. Hd.       14  13300      ($10,000.00)                                        ($10,000.00)
       Cattle #9 - No. Hd.        1   1400         ($750.00)                                           ($750.00)
     Cattle #91X - No. Hd.       20  16500       ($9,600.00)                                         ($9,600.00)
 Total Due To Eastern           405 99259     ($95,974.52)            $0.00            $0.00      ($95,974.52)

NET DUE Oak Lake/(Eastern)                   ($65,754.46)       $4,268.56             $0.00      ($61,485.90)




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